Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 1 of 9 Pageid#: 1473
                                                                          cœ e s OFFICE u.s.DIsT.COURT
                                                                             AT CHARLOU ESVILE,VA
                                                                                      FILED

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                                                                               2             ,CLERK

                           UM TED STATES DISTRICT CO URT                                      K
                       FOR TH E W ESTER N DISTR IC T O F W RG INIA
                                  C harlottesville D ivision


   ELIZABETH SINES,etal.                      j
         Plaintiss,                           9
                                              j CW ILACTION
   v.                                         6
                                              j FILE NO.#:17-cv-00072-NKM
   JASON KESSLER,etal.                        j
         Defendants.                          9


                                M O V A N T 'S O B.TEC T IO N S

         Non-party David Duke hereby serveshis objectionsto the Subpoena to Produce
    D ocum ents,as follow s:


    D ocum entRequestN o.1

          Alldocum ents concerning the above-captioned litigation.

          Objection:M ovant objects to said Document Request on the grounds thatit is
          vague, overbroad and unduly burdensom e. Com piling such inform ation w ould

          extrem ely difficult if not im possible and w ould im pose a significant expense upon

          M ovant.



    D ocum entRequestN o.2

          Alldocuments and communications concerning the removalof the RobertE.Lee
    statute# om Charlottesville,Virgiriia,including butnotlimited to a1lcommunicationsvia
    textmessages,email,Facebook m essages,tweets,directm essages on Twitter,and m essages
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 2 of 9 Pageid#: 1474




    on D iscord

           Objection:M ovantobjects to said Document Request on the grotmds thatit is
           overbroad and unduly burdensom e. Com piling such inform ation w ould extrem ely

           diftscultifnotim possible and w ould im pose a signilcantexpense upon M ovant.




    D ocum entR equestN o.3

           All docum ents and com munications concerning any rally or event on W?zp f5'/ 12,

    2017 in Charlottesvillc, Virginia, including butnot lim ited to all comm unications via text

    m essages,email,Facebook messages,tweets,directm essages tm Tw itter,and messages on

    DiscorJ thatanticipate4 planne4 publicize4 reported on,orotherwise concern such rally
    or egent.

           Objection:M ovant objects to said Document Request on the grounds thatit is
           vague, overbroad and unduly btlrdensom e. Com piling such inform ation w ould

           extrem ely difficult if not im possible and w ould im pose a significant expense upon

           M ovant.




   D ocum entR equestN o.4

           Alldocuments and communicationssuy cientto identi
                                                           h youraccommodations on
     thenightofAugust12,2017,aswellasyourtransportation to andk om any rally orevent
     on Wtfgz/â'f            in Charlottesville, Virginia, including but not lim ited to a1l

     com munications via text m essages,em ail,Facebook m essages, tweets,directm essages on
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 3 of 9 Pageid#: 1475




     Twitter,and m essages on D iscord.

           Objection: M ovant will produce documents sufficient to identify his
           accom m odations on the nightofA ugust 12,2017 and transportation to and from any

           rally oreventon Augustl2,2017 butobjectsto the remainderofsaid Document
           Request on the grotm ds that it is vague, overbroad, unduly burdensom e and

           irrelevant.




     D ocum entReguestN o.5

           Alldocumentsand communicationssus cienttoident# anycn///.
                                                                   vwithwhichyou
     areaffiliatedthatprovidedfnancialsupportorassisted inorganizing any rally orevent
     on Wz/gzfs'f 12, 2017 in Charlottesville, Virginia, including but not lim ited to all

     com m unications via text m essages, em ail, Facebook m essages, tweets, direct m essages

     on Tw itter,and m essages on D iscord

           Objection:Movantobjectsto said DocumentRequeston the groundsthatitis so
           vague,am biguous and confusing thatM ovantcannotbe reasonably expected to know

           which docum ents in his possession, custody or control, if any,m ay be considered
          'h
           responsive to the request.



     Docum entReguesfN o.6

           A11 documents and comm unications concerning any rally or event on Wzfgl/s'/ 11,

     20l7 in Charlottesville, Virginia, including but not lim ited to allcom m unications via text

     messages,email,Facebook messages,tweets,directmessages on Tw itter,and m essages f)a

     Discorx thatantici
                      pate4 planne4 publicizex reported on,orothenvise concernsuch rally
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 4 of 9 Pageid#: 1476




     or event.

           Objection:M ovantobjects to said Document Request on the grounds thatit is
           vague, overbroad and unduly burdensom e. Com piling such inform ation w ould

           extrem ely difficult if not im possible and w ould im pose a significant expense upon

           M ovant.



     D ocum entRequestN o.7

           Alldocuments and communicationssuy cientto ident? youraccommodationson
     thenightofAugust11,2017,aswellasyourtransportationto andkom any rally orevent
     on adzfgz/u
               ç/ 11, 2017, in Charlottesville, Virginia, including but not lim ited to all

     comm unication s via textm essages,em ail,Facebook m essages,tweets,directm essages on

     Twitter,and m essages on D iscord

           Objection: Movant will produce documents suftkient                      identify llis
           accom m odations on the night ofA ugust 11,2017 and transportation to and from any

           rally oreventon August11,2017 butobjectsto the remainderofsaid Document
           Request on the grounds that it is vague, overbroad, unduly burdensom e and

           irrelevant.



    DocumentReguestN o.8

           A1l docum ents and comm unications concerning any m eeting on W î/gzf-
                                                                                çf l1,

     related to Charlottesville, Virginia, including but not lim ited to the m eeting attended by

     Christopher Cantwell,Robert M zzmador''Ray,and ElliotAWne,also known as EliM osley,

     including al1 com m unications via textm essages,em ail,Facebook messages,tweets,direct
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 5 of 9 Pageid#: 1477




     messages on Twitter,and messages on D iscori

           Objection:Movantcanproducetherequested docmnentsifgiven sum cienttimeto
           search his records.



     D ocum entRequçstN o.9

           Al1docum ents and com m unications concerning any rally or eventon July 8,2017 in

     Charlottesville, Virginia, including but not lim ited to all comm unications via text

     m essages,email,Facebook messages,tweets,directm essages on Tw itter,and m essages on

     Discor4 that anticipate4 planne4 publicize4 reported on, or otherwise concern such
     rally or event.

           Objection:M ovant objects to said Document Request on.the grounds thatit is
           vague, overbroad and unduly burdensom e. Com piling such inform ation w ould

           extrem ely difficult if not im possible and w ould im pose a significant expense upon

           M ovant.




     D ocum entR equestN o.10

           Al1docum ents and com munications concerning any rall
                                                               y or eventon AI
                                                                             /J
                                                                              '-V 13,2017

     in Charlottesville, Virginia, including but not limited to all comm unications via text

     messages, em ail, Facebook m essages, direct m essages on Twitter, and m essages on

     Discorn thattzn/ïcr
                       /tzfct;
                             t planne4 publicizeJ reported on, or otherwise concern such
     rally or event.

           Objection:M ovantobjects to said DocumentRequest on the grounds that it is
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 6 of 9 Pageid#: 1478




           vague, overbroad and unduly burdensom e. Com piling such inform ation w ould

           extrem ely diftk ult if not im possible and w ould im pose a signitk ant expense upon

           M ovant.



     D ocum entR equestN o.11

            Alldocumentsand communicationsconcerning any efbrtsto solicitdonationsfor
     yourselforon behalforany otherperson,relatedto any rally oreventin Mly'
                                                                           ,July,or
     August, of 2017 in Charlottesville, Virginia, including but not limited to all
     communicationsvia textmessages,email,Facebook messages,tweets,directmessageson

     Twitter,and m essages on D iscord

           Objection:M ovantobjectsto said DocumentRequeston the groundsthatitisso
           vague,am biguousand confusing tbatM ovantcannotbe reasonably expected to know

           w hich docum ents in his possession,custody or control,if any, m ay be considered        .




           responsive to the request.




     DocumentRequestNo.12

            Al1docum ents and com munications concerning any donations received byyou or

      any cz#/@ with whichyou are ay liated thatparticipated in orsupported the rally or
      event in W z/glf-ç/ 11, 2017, in Charlottesville, Virginia, including butnotlim ited to a1l

      com m unications via text messages,email,Facebook messages,tweets,directm essages

      on Tw itter,and messages on D iscord

           Objection:M ovantobjectsto said DocumentRequeston thegroundsthatitisso
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 7 of 9 Pageid#: 1479




         vague,am biguousand confusing thatM ovantcannotbe reasonably expected to know

         w hich docum ents in his possession,custody or control, if any, m ay be considered

         responsive to the R equest.




     D ocum entReguestN o.13

          A11documentsandcommunicationsbetweenyouandany ofthefollowing
           individuals.
                      .

           a.    Christopher Cantwell;

           b.    Robert 'bizzm ador''Ray;

           c.    ElliotKline J//c/l E1iM osley;

           d     Jason K essler;

           e.    Richard Spencer;

          f      JamesAlexFields,Jr.;
           g.    Andrew Anglin;

           h.    Nathan D am igo;

           1.     M atthew H eim bach;

                  M atthew Parrotta/k/a D cv/J M atthew Parrott;

                  M chaelH ill,.

           /.     M chaelTubbs;

           m.     Jey scboep;
           n.    A ugustus SolInvictus;

                  M ichael ''
                            E noch''Peinovich.

         Objection:M ovantobjectstosaidDocumentRequestonthegroundsthatitis
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 8 of 9 Pageid#: 1480




         overbroad,lacking any tim e orrelevance lim itation,unduly burdensom e and

         irrelevant.




   Docum entRequestN o.14

          Alldocumentsand communicationsto,kom,orconcerning thefollowingentities:
          a.     TheDail
                       y Stormer(including theDailyStormer'
                                                          s''
                                                            bookclubs');
                 VanguardAm erica ;

                 M oonbase H oldings,LLC;

          d.     Identity Evropa;

                 TraditionalistWorkerplr@z
                                         '

                 Zctzgz/coftheSouth;
                 N ationalSocialistM ovem ent;

                 NationalistFront;

          1.     FraternalOrderoftheAlt-p ights;
          J      LoyalI'
                       F/z//CKnightsoftheKuKluxKlan;
                 EastCoastKnightsoftbeKuA7zfxKlana/k/aEastCoastKnightsofthe
                  True Invisible Empire;

                 xdn.y other organization with ''
                                                K nights''in its name; and

           m.    A ny other organization w ith ''
                                                K u A7?.
                                                       /x Klan''in its pwzzie.


         Objection:M ovantobjects to said DocumentRequest on the grounds that it is
         overbroad, lacking any tim e or relevance lim itation, unduly btlrdensom e and

          irrelevant.
Case 3:17-cv-00072-NKM-JCH Document 237 Filed 02/26/18 Page 9 of 9 Pageid#: 1481




   This23rdday ofFebruary, 2018.

                                               Respectfully subm itted,


                                               Zs/David Dtlke


                                                Davi lzke
                                                240 Garden Avenue
                                                M andeville,LA 70471
                                                (985)869-0720
                                                ernestduke@hotmail.com
